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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
GREGORY SPRINGER, §
Plaintiff, §
v. § CIVIL ACTION NO. 5:15-CV-108
ORTELIO RODRIGUEZ, ET AL., §
Defendants. §

DEFENDANTS’ RESPONSE TO
PLAINTIFF’S MOTION FOR ATTORNEY’S FEES

TO THE HONORABLE JUDGE OF SAID COURT:

COME NOW Defendants, United States Border Patrol Agents Ortelio Rodriguez and John
Gregory in their individual capacities (“the Individual Defendants”), and the United States of
America (“United States”), Defendants, by and through the United States Attorney for the
Southem District of Texas, and hereby respectfully present their Response to Plaintiff’s Motion
for Attorney’s Fees.

BACKGROUND

Plaintiff Gregory Springer (“Springer”) filed this suit against the Individual Defendants
pursuant to Bivens v. Six Unknown Federal Narcotics A,qents, 403 U.S. 388 (1971) and against
the United States pursuant to the F ederal Tort Claims Act (“FTCA”), regarding an incident which
occurred near Laredo, Texas on October 2, 2013, during which Springer alleges that he was
illegally stopped, assaulted, tased, arrested, and detained by Border Patrol agents.

On November 2, 2017, Spn`nger filed his Motion to Exclude Expert Testimony of Stephen

Hays and Brian D. Yarges (“Motion to Exclude”). See Civil Docket for Case # 5:15-CV-00108

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(SDTX), Docket # 48. In that motion, Springer contended that the testimony of the two experts
designated by Defendants should be excluded because they had not complied with the expert
disclosure requirements of the Federal Rules of Civil Procedure by producing expert reports Id.
On December l, 2017, Defendants responded to the Motion to Exclude, acknowledging that their
experts had not submitted reports, but contending that exclusion of their testimony would not be
the appropriate remedy under the circumstances of this case. See Defendants’ Response to
Motion to Exclude Expert Testimony of Stephen Hays and Brian D. Yarges [Docket # 53].
Instead, the Defendants argued that an extension should be granted to allow for the production of
their experts’ reports and the deposition of their experts by Springer. Id.

On May 15, 2018, the Court issued its Memorandum and Order denying Springer’s Motion
to Exclude. See Memorandum and Order [Docket # 61]. In that Memorandum and Order, the
Court set deadlines for Defendants to produce their expert reports, and for Springer to take the
depositions of Defendant’s experts. Id. Although Springer did not request such a remedy, in a
footnote, the Court also set a deadline for Springer to file a motion for expenses pursuant to Federal
Rule of Civil Procedure 37(0)(1)(A), if he believed that he was entitled to such expenses. Id.

PLAINTIFF’S MOTIGN FOR ATTORNEY’S FEES

On May 29, 2018, Springer filed his Motion for Attomey’s Fees [Docket # 62]. ln that
motion, Springer contends that he is entitled to his reasonable expenses incurred due to the
Defendants’ initial failure to produce expert reports. ' See Motion for Attomey’s Fees at page 4,
paragraph lO. He claims that such reasonable expenses were incurred in drafting and filing

Springer’s Motion to Exclude and Motion for Attomey’s Fees, as Well as reviewing Defendants’

 

l The expert reports of Stephen Hays and Brian D. Yarges were produced by Defendants

on June 5, 2018, as ordered by the Court in its Memorandum and Order.

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expert designation and disclosure responses and conferring with opposing counsel. Id. Springer
then applies the lodestar method, the product of the hours worked multiplied by the billing rate, in
order to calculate attomey’s fees, concludes that his reasonable attomey’s fees and costs in this

matter were $2,442.00, and requests that he be awarded that amount. Id at pages 4 - 6.

APPLICABLE LEGAL P'ROVISIONS

I. Rule 37 FLR. Civ. P.:

Rule 37(c)(l), Federal Rules of Civil Procedure provides that if a party fails to provide
information or identify a witness as required by Rule 26(a) or (e), the party is not allowed to use
that information or witness to supply evidence on a motion, at a hearing, or at trial unless the failure
was substantially justified or is harmless The rule further provides that instead of exclusion, the
court on motion and after giving an opportunity to be heard, may order payment of reasonable
expenses, including attomey’s fees, caused by the failure. See Rule 37(c)(l)(A), Federal Rules
of Civil Procedure.

II. Calculation of Attomey’s Fees:

Texas courts use the lodestar method for calculating attomey’s fees. See Tollett v. City
of Kemah, 285 F.3d 357,367 (5th Cir. 2002). The first step in computing the lodestar is
determining a reasonable hourly rate, Amlin Corporate Member, Ltd. v. Logistics Grout)

Intemational Inc., 201 l WL 3271335 at *4 (S.D. Tex. July 28, 201 1). The prevailing market rate

 

for similar services by lawyers with similar training and experience in the relevant legal
community is the established basis for determining a reasonable hourly rate. M. citing Tollett,
285 F.3d at 368. The party seeking fees bears the burden of establishing the market rate and

should present the court with evidence from which the court can determine the reasonableness of

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the proposed rate, M. citing Riley v. City of Jackson, Miss., 99 F.3d 757,760 (5th Cir. 1996).

The second step in the lodestar calculation is determining the number of hoursreasonably
expended Am_h`n at *5. A court must have sufficient information to determine whether
particular hours claimed were reasonably expended on the litigation Louisiana Power & Light
Co. v. Kellstrom, 50 F.3d 319,325 (5th Cir. 1995). The documentation must be sufficient for the
court to verify that the applicant has met his burden. M. at 324. A court has discretion to reduce
the number of hours credited if documentation is vague, lacking, or incomplete E. at 327, Pilt
v. U.S. Bank Trust Nat’l Ass’n, 259 F.Supp2d 541,543 (N.D. Tex. 2003). 2

RESPONSE OF DEFENDANTS

I. §Mer failed to comply witl_\ the Local Rules:

LR 7.1D, Local Rules of the United States District Court for the Southern District of Texas
(2000) (“Local Rules”), provides that “[e]xcept for motions under Federal Rules of Civil Procedure
12(b), (c), (e), or (f) and 56, [opposed motions shall] contain an averment that (l) [t]he movant has
conferred with the respondent and (2) [c]ounsel cannot agree about the disposition of the motion”.
Springer’s Motion for Attomey’s Fees was brought under Rule 37(c)(l)(A), Federal Rules of` Civil
Procedure, and not under Rules 12(b), (c), (e), or (f), nor under Rule 56. See Motion for
Attomey’s Fees [Docket # 62] at page 1, paragraph 2.

Moreover, Springer’s Motion for Attomey’s Fees lacks the required averment regarding

conferring with opposing counsel and being unable to agree about the disposition of the motion.

 

2 Once the lodestar has been determined, courts usually undertake additional analysis to
determine whether to increase or decrease the lodestar based on the twelve factors set out in
Johnson v. Georgia Highway Express, 488 F.2d 714 (5th Cir. 1974). See Amlin at *4. However,
for attorney’s fees calculations pursuant to Rule 37, no adjustment to the lodestar amount is in
order. See Tollett, 285 F.3d at 367.

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See Id. at page 8. And while the Court’s Memorandum and Order provided a deadline for
Springer to file a motion for expenses, it did not authorize him to dispense with the requirements
of the Local Rules. See Memorandum & Order [Docket # 61] at page 8, footnote 3.
Consequently, Springer’s Motion for Attomey’s Fees should be stricken for failure to comport
with the Local Rules.

II. wgn fails to establish a reasonable market rate:

Springer’s Motion for Attomey’s Fees is supported by the affidavit of Santos Vargas, an
attorney for Springer (“Vargas Affidavit”). See Exhibit A appended to Motion for Attomey’s
Fees [Docket 62-1]. In the Vargas Affidavit, Mr. Vargas sets out his background and experience,
as well as the fact that he is a shareholder in the firm representing Springer. See Vargas Affidavit
at page l, paragraphs 2 & 3. He then avers that an associate at the firm, Guillermo Benavides,
assisted in the filing of the Motion to Exclude, and that another associate at the firm, Devin Gabrial
as well as a paralegal, Kristen Tyler, assisted in filing the Motion for Attomey’s Fees. Id. at page
2, paragraph 5. However, the Vargas Affidavit is completely devoid of any information regarding
the background and experience of Mr. Benavides, Mr. Gabriel, Ms. Tyler, or Mr. Jason Davis,
whose time is also being billed by Springer.

Attatched as an exhibit to the Vargas Affidavit is a chart which indicates that Mr. Davis’s
and Mr. Vargas’s time was charged at $200.00 per hour, Mr. Benavides’s and Mr. Gabriel’s time
was charged at $100 per hour, and Ms. Tyler’s time was charged at $65.00 per hour. See Exhibit
A-l to Vargas Affidavit [Docket 62-2] at page 2. In his affidavit, Mr. Vargas then avers, in a
conclusory fashion, that the rates charged are reasonable and necessary, and that they are
reasonable and comparable to rates charged by attorneys practicing in the Laredo Division of the

United States Court for the Southem Distn'ct of Texas. See Vargas Affidavit at page 3, paragraphs

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10 & ll. Moreover, the Motion for Attomey’s fees also contains conclusory allegations that the
rates charged by Springer’s counsel represent a 50% discount from their standard rates, and are
plainly reasonable and comparable to rates charged by attomey’s practicing in the Southem
District of Texas for similar matters. See Motion for Attomey’s fees at pages 5 - 6, paragraph
15.

As set out above, the party seeking fees bears the burden of establishing the market rate
and should present the court with evidence from which the court can determine the reasonableness
of the proposed rate. See M, 99 F.3d at 760. To establish the reasonableness of the requested
rate, counsel must produce satisfactory evidence - in addition to his own affidavits - that the
requested rates are in line with those prevailing in the community for similar services by lawyers
of reasonably comparable skill, experience, and reputation Deltatech Construction. LLC v.
Sherwin-Williams Co., 2005 WL 3542906 at * 3 (E.D. La. Nov. 3, 2005). See also Watkins v.
Input/Output, Inc., 531 F.Supp.2d 777,784 (S.D. Tex 2007)(The evidence to support an hourly rate
entails more than an affidavit of the attorney performing the work but must also address the rates
actually billed and paid in similar lawsuits). 3 Aside from conclusory allegations and some detail
about Mr. Vargas’s background and experience, the Motion for Attomey’s Fees is lacking in this
regard, and should therefore be denied.

III. Springer fails to establish reasonably expended hours:

Through his affidavit, Mr. Vargas avers that Springer’s counsel spent approximately 11.6

 

3 The relevant market for purposes of determining the prevailing rate to be paid in a fee
award is the community in which the district court sits. See Tollett, 285 F.3d at 368 citing Scham
, v. District Courts Trving Criminal Cases, 148 F.3d 554,558 (5th Cir. 1998). Generally, the
reasonable hourly rate for a particular community is established through affidavits of other
attorneys practicing there. Tollett, at 368 citing Watkins v. Fordice, 7 F.3d 453,458 (5th Cir.
1993).

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hours in connection with filing the Motion to Exclude, and that Springer’s counsel and a paralegal
spent approximately 8.6 hours in connection with filing the Motion for Attomey’s fees. See
Vargas Affidavit at page 3, paragraph 9. He then avers, in a conclusory fashion, that “[a]
reasonable number of hours were expended in connection with this activity”, and “my firm
properly staffed this matter and the time expended was reasonable”. Id. at paragraph l 1.

Exhibit A-l appended to the Vargas Affidavit contains a chart with a breakdown of the
time spent by each attorney/paralegal on the applicable motions. See Docket 62-2 at page 3. As
to the Motion to Exclude, the chart contains ten entries, nine entries regarding Mr. Benavides,
totaling to 11.1 hours, and one entry regarding Mr. Davis, totaling to .5 hours, Id. The entries
correspond to dates in October of 2016, and June, October and November of 2017. Id. The
description of work performed is basically researching, drafting, reviewing and revising the
motion. Id. However, many of the entries are compound and appear duplicative Id. ln
addition, there is an unexplained redaction regarding the entry corresponding to August 19, 2017.
Id. Consequently, the fee request is not sufficiently precise to determine whether the hours
claimed were reasonably expended on the Motion to Exclude.

As to the Motion for Attomey’s Fees, the chart contains six entries, four entries totaling to
3.8 hours regarding Mr. Gabriel, one entry for 0.8 hours regarding Ms. Tyler, and one entry for
four hours regarding Mr. Vargas. See Docket 62-2 at page 3. All of the entries correspond to
dates in May of 2018. Id. The description of work performed is basically drafting and revising
the Motion for Attomey’s fees, as well as preparing the attached affidavit and exhibits Id.
Again, the entries appear duplicative Id. Specifically, it does not appear reasonable that Mr.
Gabriel and Ms. Tyler spent a total of 4.6 hours to draft the motion and prepare the affidavit and

exhibits, and then it took another four hours for Mr. Vargas to revise the motion and supporting

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affidavit, Id.

As set out above, it is the applicant’s burden to provide the court With sufficient information
to determine whether particular hours claimed were reasonably expended on the litigation. See
Kellstrom, 50 F.3d at 325. Moreover, a court should not take the applicant’s assertion of hours
expended in his affidavit at face value, rather, the evidence produced must be sufficient to
determine reasonable hours. E. If the fee request is not sufficiently precise to determine
whether the hours claimed were reasonably expended, the Court should reduce the number of hours
credited. See Pelt v. U.S. Bank Trust Nat’l Ass’n, 259 F.Supp2d 541,543 (N.D. Tex. 2003).

CONCLUSION

Because Springer has failed to comply with the Local Rules, and because he has failed to

establish a reasonable market rate and reasonably expended hours regarding his requested

attomey’s fees, Springer’s Motion for Attomey’s Fees should be stricken and/or denied.

Respectfully Submitted,

RYAN K. PATRICK
United States Attomey

“S/” Hector C. Ramirez
HECTOR C. RAMIREZ
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ATTORNEY fN CHARGE
FOR DEFENDANTS

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CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing DEFENDANTS’ RESPONSE TO
PLAINTIFF’S MOTION FOR ATTORNEY’S FEES in the case of GREGORY SPRINGER

v. ORTELIO RODRIGUEZ ET AL., Civil Action Number 5:15-CV-108, was sent by electronic

 

mail through the District Clerk’s electronic filing system to Jason M. Davis and Santos Vargas,l

Davis & Santos, 719 S. Flores Street, San Antonio, Texas 78204 on this the 19th day of June, 2018.

“S/" Hector C. Ramirez
HECTOR C. RAMIREZ
Assistant United States Attorney

